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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

GROVANDO INC., Individually and on
Behalf of All Others Similarly Situated,

Plaintiffs,
SA-24-CV-631-JKP (HJB)

Vv.

ROCKET ENTERPRISES, LLC,

607 GOR CGN CO? 40m GOD GOD 402 67 tO

Defendant.

SHOW CAUSE ORDER
AND ORDER STAYING CASE

Before the Court is the status of this case, in which pretrial and scheduling matters have
been referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 5.)

Both parties are corporate entities in this case; yet neither party has retained counsel.' See
United States v. Est. of Goehring, No. SA-17-CV-1092-XR, 2018 WL 1530995, at *1 (W.D. Tex.
Feb. 13, 2018) (“[I]t is well established that corporations and LLCs are fictional legal persons who
can only be represented by licensed counsel.”) The Court previously rescheduled the initial pretrial
conference in this case for December 12, 2024, and ordered both parties to retain counsel by that
date. (See Docket Entries 19, 25.) At the December 12 conference, representatives of Defendant
appeared without counsel; Plaintiff did not appear at all.

Given these circumstances, it is hereby ORDERED that, on or before January 10, 2025,
Plaintiff must SHOW CAUSE why it should not be sanctioned for its failure to appear at the

hearing on December 12, 2024. See FED. R. Civ. P. 16(f)(1). As Plaintiff is a corporation, the

' Plaintiff had previously retained counsel, but she was subsequently granted leave to
withdraw. (Docket Entry 25.)
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response to this Order must be filed by counsel who has entered an appearance on Plaintiff's
behalf. See Est. of Goehring, 2018 WL 1530995, at *1. If Plaintiff fails to respond to this Order,
Plaintiffs case may be dismissed for failure to prosecute and comply with Court orders. See FED.
R. Civ. P. 41(b).

It is FURTHER ORDERED that proceedings in this case are STAYED pending the
Court’s consideration of Plaintiff's showing of cause for his failure to appear.

The Clerk of the Court is directed to send a copy of this Order by U.S. Certified Mail,
return receipt requested, to the parties at the following addresses:

Grovano Inc.

c/o Mark Anthony Ortega

15450 Capital Port Dr.

San Antonio, Texas 78249

Rocket Enterprises, LLC

7803 N. Audubon Road

Indianapolis, IN 46250

Rocket Enterprises, LLC

2457 E. Washington Street, Suite D

Indianapolis, IN 46201

SIGNED on December 12, 2024.

LPR

Henry J.
United/States Magistrat Aewe

to
